 Case 10-93904-BHL-11                       Doc 181-3              Filed 01/10/11               EOD 01/10/11 19:12:00          Pg 1 of 3




             FARUKI IRELAND & COX P.L.L.
                                                    ATTORNEYS AT LAW
                                                 TRUSTED WISDOM. EXTRAORDINARY RESULTS.

                                                                                                                         Respond 10 a.rili Offce



                                                                      Danlel J. Douellon
                                                                          S J 3.632.(308
                                                                     ddollon@ficlaw.com



                                                                    Januar 10,2011



        VIA ELECTRONIC MAIL ONLY

        Ter E. Hall, Esq.
        BAKR & DANIELS LLP
        300 N. Meridian Street, Suite 2700
        Indianapolis, IN 46204

                            Re: In re Eastern Livestock Co., LLC
                                     United States Banptcy Cour, Souther District of                        Indiana, New Albany,
                                     Cas No. 1       0-9390BHL.             1 1



        Dear Ms. Hall:

                         Our firm has been retained by The First Ban and Trut Company ("Firs Ban")
        to assist in the varous proceedings relating to Eater Livestock Co., LLC, including the
        proceeing styled In re Easter Livestock Co.) LLC, Case No. 10-93904- BHL- i i, in the United
        States Banptcy Court for the Souther Distrct ofIndiana, New Albany.

                        On behalf of First Ban, we wil be fiing objections to Trutee James A. Knauets
        application to employ Baker & Daniels LLP ("B&D") as his counel (Doc. No. 113).
        Mr. Knauer's application stated, in par, that B&D "is disinterested" and "(e)xcept as provided in
        the Affdavit of  Ter E. Hall. . . B&D represents no entity in connection with this case and it
        has no connection with the Debtor, creditors, any other pary in interest, their respective
        attorneys and accountants, the United States Trustee, or any peron employed in the offce of
                                                                                                                                   the
        United States Trustee."

                              Your affdavit ("Hall Affdavit") (Doc. No. i 14) states that B&D "currently
        represents Fifth Third," but your affdavit is otherise bereft of detail about B&D's
        representation of         Fift Third. The affdavit gave some general information about B&D's work
        with Fift Third and, without more, we were forced to                               object. On Janua 10,2011, we wil be
        filing the Objection of           The Firt Ban and Trust Company to Application to Employ Baker &




201 East Fifth Street
Suite 1420
Cincinnati, Ohio 45202
513-632-0300
Fax 513-632-0319
                                                                          .
                                                                          ficlw.co                    Exhibit C
                                                                                                                  500 Courthouse Plaza, S. W.
                                                                                                                      10 North Ludlow Street
                                                                                                                         Dayton, Ohio 45402
                                                                                                                                937 -227 -3700
                                                                                                                            Fax 937-227-3717
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    Daniels LLP As Counsel to Chapter XI Trustee ("Objection"). We do not wish to attack your
    affdavit or impugn the integrty ofB&D, but we seek the detail related to the general statements
     in your affdavit in order to make a more infonned objection, if                            necessar.
                           For instance, your affdavit is silent as to the scope and type of B&D's
    representation of          Fifth Third. In addition, your affdavit makes no mention of                  your firm's
    reporting to our firm in late November 2010 that B&D could not represent First Ban due to an
    irrecncilable conflct based precisely on your firm's representation of Fifth Third. However,
    when presented with a different scope of engagement, and one which requires a higher standard
    of disinterestedness from the traditional two-pary adversar system, your affdavit seems to treat
    the conflict with Fifth Third differently. Hall Affdavit, ~ 5.

                   As set forth in the Objection, the Cour, creditors, and other interested paries
    need additional information about B&D1s work for one of    its "Representative Clients" - Fifth
    Third - to adequately evaluate and address B&D's level of disinterestedness. Given the scope of
    the proposed engagement and the level of national scrutiny attendant to this case, we assume you
    wil have no problem providing us with non-privileged information relating to the following four
    topics:

                           (1) Identify each matter for which Fift Third has retained Baker &
                           Daniels since Januar 1, 2007, including, but not limited to (a) the
                           date(s) of engagement; (b) wheiher the matter remains active or
                           has concluded; and (c) a description of the type of matter.

                           (2) For each matter identified in topic (1) above, identify the
                           primary person(s) at Fifth Third responsible for (a) retaining Baker
                           & Daniels; and (b) approving or making decisions regarding legal
                           strategy.

                           (3) The total dollar amount that of                 biled and unbiled time and
                           costs from Baker & Daniels to Fifth Thrd from Januar 1,2007 to
                           the present.

                          (4) Produce the results frm B&D's "conflict check system" (Hall
                          Affidavit, ii 2) for both the inquir relating to representation of
                          First Ban and the inquiry relating to representation of   Trustee
                          Knauer.
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                          Pleae provide us with your responses to the four above requests on or before
     Januar 24,2011. If         you have any questions, then pleae let me know.

                                                       Ver trly yours,




    DJD/s1r

    cc: John R. Car II, Esq. (via email)
                 Bret S. Clement, Esq. (via email)
